                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )
vs.                                             )       Case No. 06-0408-CV-W-GAF
                                                )
DIMITRI JONES,                                  )
                                                )
                        Defendant.              )

                                               ORDER

        On June 26, 2007, a hearing was held on the issue of Defendant Dimitri Jones’ competency.

The parties stipulated to the Forensic Report dated June 7, 2007, prepared by Dr. Jason V. Dana of

the Metropolitan Correctional Center in Chicago.

        On June 28, 2007, United States Magistrate Judge Sarah W. Hays issued her Report and

Recommendation.

        Upon careful and independent review of the record, as well as the applicable law, and there

being no objections to the Report and Recommendation, this Court hereby adopts and incorporates as

its own Opinion and Order the Report and Recommendation of United States Magistrate Judge Sarah

W. Hays.

        Accordingly, it is

        ORDERED that Defendant Dimitri Jones is not currently suffering from a mental disease or

defect which would prevent him from understanding the nature and consequences of the proceedings

against him or assisting in his own defense and that he is competent to stand trial.



                                                        s/ Gary A. Fenner
                                                        GARY A. FENNER, JUDGE
                                                        UNITED STATES DISTRICT COURT

DATED: July 17, 2007




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